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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 JONESBORO DIVISION

ARNELL NIGHTINGALE                                                    PLAINTIFF

V.                                     3:12CV00148 JMM

SAFECO INSURANCE COMPANY
OF AMERICA                                                            DEFENDANT

                                              ORDER

       Pending before the Court is the Defendant’s motion to dismiss or in the alternative

transfer the case to the United States District Court for the Northern District of California. The

Plaintiff agrees to the transfer of the case to California because the California court will be a

more appropriate and convenient forum.

       For the reasons set forth by the parties, the motion to transfer the case to the United

States District Court for the Northern District of California (Docket # 7) is GRANTED in part.

The Clerk is directed to transfer the case to the Clerk of the Court for the United States District

Court for the Northern District of California forthwith.

       IT IS SO ORDERED this 30th day of August, 2012.



                                                              ______________________________
                                                              James M. Moody
                                                              United States District Judge
